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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 MICHELLE FITZGERALD,                    )
                                         )
         Plaintiff,                      )
                                         )
         v.                              )     Case No. 1:19-cv-4291-RLY-TAB
                                         )
 RONCALLI HIGH SCHOOL, INC.,             )
 and the ROMAN CATHOLIC                  )
 ARCHDIOCESE OF                          )
 INDIANAPOLIS, INC.,                     )
                                         )
         Defendants.                     )

                       AGREED MOTION FOR EXTENSION OF
                         DISPOSITIVE MOTION DEADLINE

      Plaintiff, Michelle Fitzgerald, by counsel, and Defendants the Roman Catholic

 Archdiocese of Indianapolis, Inc., and Roncalli High School, Inc. (collectively,

 “Defendants”), by counsel, together move this Court to extend the deadline for

 dispositive motions by 90 days to May 25, 2021. In support, they state as follows:

    1.        On October 5, 2020, this Court granted the parties’ motion to amend the

 Case Management Plan, setting a dispositive motion deadline of February 24, 2021.

 (ECF 79)

    2.        On November 25, 2020, this Court granted Plaintiff’s unopposed motion to

 stay discovery deadlines pending the Court’s ruling on Defendants’ Objections to the

 Magistrate’s Order on the Motion to Bifurcate Discovery. (ECF 85) The Court also

 granted a subsequent unopposed motion to stay the final witness and exhibit list

 deadline pending that ruling. (ECF 88)
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    3.     Given the stay of discovery deadlines, the parties agree that an extension

 of the dispositive motion deadline is also appropriate.

      WHEREFORE, the parties, by counsel, respectfully request the Court extend

 the dispositive motion deadline in the modified Case Management Plan to May 25,

 2021.

                                               Respectfully submitted,

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